

Neuwelt v 33072 Owners Corp. (2023 NY Slip Op 05227)





Neuwelt v 33072 Owners Corp.


2023 NY Slip Op 05227


Decided on October 17, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 17, 2023

Before: Webber, J.P., Oing, Gesmer, Rodriguez, Rosado, JJ. 


Index No. 655265/21 Appeal No. 808 Case No. 2023-03001 

[*1]Klari Neuwelt, Plaintiff-Appellant,
v33072 Owners Corp., Defendant-Respondent.


Wasserman Grubin &amp; Rogers, LLP, New York (Michael T. Rogers of counsel), for appellant.
Boyd Richards Parker &amp; Colonnelli, PL, New York (Frederick C. Sung of counsel), for respondent.



Order, Supreme Court, New York County (Lyle E. Frank, J.), entered May 9, 2023, which, upon deeming defendant's motion to dismiss as one that sought to dismiss all claims related to defendant's house rules, granted the motion and dismissed the claims arising out of defendant's house rule 4, unanimously affirmed, with costs.
Supreme Court correctly found that plaintiff had not stated a cause of action either for injunctive or monetary relief because no violation of a house rule had occurred. House rule 4, the relevant rule, was unambiguous, and the parties' intentions can be determined from the four corners of the document (see West, Weir &amp; Bartel, Inc. v Mary Carter Paint Co. , 25 NY2d 535, 540 [1969]; Ruttenberg v Davidge Data Sys. Corp. , 215 AD2d 191, 192-193 [1st Dept 1995]). Specifically, house rule 4 provides, in relevant part, that in the event shareholders disagree as to the decorations and furnishings of their common hallways, that defendant's board of directors "shall decide." Under the plain reading of this house rule, Supreme Court properly dismissed so much of plaintiff's complaint seeking to enjoin defendant from, among other things, making changes to the existing decorative scheme in the common hallway.
We have considered plaintiff's remaining arguments and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 17, 2023








